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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

JOHN FROST, et al.,

      Defendants.                                                Case No. 05-cr-30133-6-DRH

                        SUPPLEMENTAL SENTENCING ORDER

HERNDON, Chief Judge:

               This Order serves to supplement the Court’s findings, made during

defendant Frost’s October 5, 2007 Sentencing Hearing, to clarify the legal grounds

as to why defendant Frost is not entitled to the “safety valve” two point reduction of

his offense level under U.S.S.G. § 5C1.2(a). During his sentencing, the Court

originally ruled that defendant Frost was not entitled to a two point reduction

because he was not subject to the mandatory minimum term of imprisonment.

However, this appears to be inconsistent with the rule followed by many appellate

circuits and also Application Note 211 regarding U.S.S.G. § 2D 1.1(b)(9). See U.S.

v. Feingold, 454 F.3d 1001 (9th Cir. 2006)(“[W]e join our sister circuits in

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          Application Note 21 to § 2D1.1 states:

               Applicability of Subsection (b)(9). – The applicability of subsection (b)(9) shall
               be determined without regard to whether the defendant was convicted of an
               offense that subjects the defendant to a mandatory minimum term of
               imprisonment. Section § 5C1.2(b), which provides a minimum offense level
               of level 17, is not pertinent to the determination of whether subsection (b)(9)
               applies.

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observing that a two-point reduction under this provision is available to criminal

defendants      regardless   of   whether   their   offense   carries   a   mandatory

minimum.”)(citing United States v. Osei, 107 F.3d 101, 104-05 (2d Cir. 1997);

United States v. Warnick, 287 F.3d 299, 304 (4th Cir. 2002); United States v.

Leonard, 157 F.3d 343, 345-46 (5th Cir. 1998); United States v. Mashek, 406

F.3d 1012, 1018-20 (8th Cir. 2005); United States v. Mertilus, 111 F.3d 870,

873-74 (11th Cir. 1997); United States v. Plunkett, 125 F.3d 873, 874 (D.C.

Cir. 1997)).

               Thus, the Court finds a defendant may possibly qualify for a “safety

valve” two point reduction under U.S.S.G. § 2D1.1(b)(9), but only if the defendant

meets the criteria set forth in U.S.S.G. § 5C1.2(a). In this case, defendant Frost did

not meet with the Government as required by § 5C1.2(a)(5), so he will not qualify

for the application of the two point reduction under § 2D1.1(b)(9) by virtue of this

failure. Defendant Frost’s total offense level remains as was determined during his

Sentencing Hearing and will be reflected in the Judgment.

               IT IS SO ORDERED.

               Signed this 9th day of October, 2007.



                                              /s/    DavidRHerndon
                                              Chief Judge
                                              United States District Court




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